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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FAIRHOLME FUNDS, INC., et al.,

              Plaintiffs,

       v.                                  Civil No. 13-1053 (RCL)

FEDERAL HOUSING FINANCE
AGENCY, et al.,

              Defendants.


In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

__________________                         Miscellaneous No. 13-1288 (RCL)

This document relates to:
ALL CASES


                 MOTION FOR SUMMARY JUDGMENT
BY DEFENDANTS FEDERAL HOUSING FINANCE AGENCY AS CONSERVATOR
     FOR FANNIE MAE AND FREDDIE MAC, FHFA ACTING DIRECTOR
      SANDRA L. THOMPSON, AND FANNIE MAE AND FREDDIE MAC
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       Defendants Federal Housing Finance Agency (“FHFA” or “Conservator”), as

Conservator for the Federal National Mortgage Association (“Fannie Mae”) and the Federal

Home Loan Mortgage Corporation (“Freddie Mac,” and together with Fannie Mae, the

“Enterprises,”), Sandra L. Thompson, in her official capacity as Acting Director of FHFA, and

the Enterprises hereby move for summary judgment as to all claims in the above-captioned

actions for the reasons set forth in the Memorandum in Support filed with this motion. A

proposed order granting the relief requested by this motion is also being filed with this motion.

       Pursuant to Local Rule 7(f), FHFA, Director Thompson, and the Enterprises respectfully

request oral argument on this motion.
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Dated: March 21, 2022                  Respectfully submitted,

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   MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
BY DEFENDANTS FEDERAL HOUSING FINANCE AGENCY AS CONSERVATOR
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      SANDRA L. THOMPSON, AND FANNIE MAE AND FREDDIE MAC
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                                       INTRODUCTION

       This case arises out of the continuing consequences of one of the greatest financial crises

in our country’s history. In response to the crisis, the government took unprecedented (and

successful) efforts to assure the stability of a critical component of the country’s economy—the

secondary mortgage market. Plaintiffs, who are shareholders of Fannie Mae and Freddie Mac

(the “Enterprises”), now seek to second-guess the Federal Housing Finance Agency’s (“FHFA”)

execution of the Third Amendment to the Preferred Stock Purchase Agreements (“Third

Amendment”) with the U.S. Department of Treasury. After nine years of litigation—including

numerous decisions by the circuit courts of appeals, and now the United States Supreme Court,

holding that the Third Amendment was both authorized and a reasonable exercise of FHFA’s

broad statutory powers—it is time to end this case.

       Plaintiffs’ sole remaining claim is for breach of the implied covenant of good faith and

fair dealing arising under Delaware and Virginia law, which this Court has held is contained in

the Enterprises’ contracts with shareholders. The United States Supreme Court’s ruling in

Collins v. Yellen, 141 S. Ct. 1761 (2021), along with the undisputed facts adduced in discovery,

compel summary judgment in Defendants’ favor for four independent reasons.

       First, the Supreme Court unanimously held in Collins that FHFA—exercising its

“expansive authority in its role as a conservator”—“reasonably viewed [the Third Amendment]

as more certain to ensure market stability” than “the shareholders’ suggested strategy.” Id. at

1776–77. This holding alone forecloses Plaintiffs’ implied covenant claim.

       When this Court denied Defendants’ motion to dismiss the implied covenant claim—

nearly three years before the Collins decision—it stated that “[w]hile some of Defendants’

argument is compelling, none of it permits the Court to grant dismissal of Plaintiffs’ implied

covenant claims at this stage.” Fairholme Funds, Inc. v. FHFA, No. CV 13-1053, 2018 WL
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4680197, at *12 (D.D.C. Sept. 28, 2018) (emphasis added). According to the Court, “[t]he

question” for liability “is whether Defendants exercised their discretion [to enter the Third

Amendment] arbitrarily or unreasonably.” Id. at *13. This Court, noting that motions to dismiss

“are to be granted sparingly and with caution,” held that “[a]t this stage in the proceedings,”

Plaintiffs’ allegations “could support a finding that Defendants exercised their discretion

arbitrarily or unreasonably.” Id. at *13–14. Now, at the summary judgment stage, Plaintiffs’

claim cannot proceed.

       The Supreme Court’s decision in Collins has foreclosed any argument that FHFA acted

unreasonably when entering into the Third Amendment. After accepting the Collins shareholder

plaintiffs’ factual allegations as true—allegations that are in all material respects identical to

those presented here—the Supreme Court ruled unanimously that the Conservator acted

reasonably in executing the Third Amendment. Relying on the broad authority granted to FHFA

under the Housing and Economic Recovery Act of 2008 (“HERA”), the Supreme Court held that

“[t]he facts alleged in the complaint demonstrate that the FHFA chose a path of rehabilitation

that was designed to serve public interests by ensuring Fannie Mae’s and Freddie Mac’s

continued support of the secondary mortgage market.” Collins, 141 S. Ct. at 1776. In rejecting

the Collins plaintiffs’ claims that FHFA had exceeded its authority under HERA by executing

the Third Amendment, the Supreme Court held that “[t]he nature of the conservatorship

authorized by [HERA] permitted the Agency to reject the shareholders’ suggested strategy in

favor of one that the Agency reasonably viewed as more certain to ensure market stability.” Id.

at 1777 (emphasis added); see also id. (FHFA “could have reasonably concluded that [the Third

Amendment] was in the best interests of members of the public who rely on a stable secondary

mortgage market.”) (emphasis added).



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       This Supreme Court holding in Collins conclusively mandates a negative answer to the

dispositive “question” announced by this Court for determining Defendants’ liability vel non on

Plaintiffs’ implied covenant claim. Simply stated, the Supreme Court’s definitive ruling that that

FHFA acted reasonably in agreeing to the Third Amendment negates Plaintiffs’ ability to prove a

necessary fact: that “Defendants exercised their discretion [to execute the Third Amendment]

arbitrarily or unreasonably.” Fairholme Funds, 2018 WL 4680197, at *13. Further, because the

facts alleged here are materially identical to those alleged in Collins, even if Plaintiffs could

prove those facts at trial (and they cannot), FHFA’s conduct would still be reasonable as a matter

of law in light of Collins, precluding any finding that FHFA acted arbitrarily or unreasonably.

Unsurprisingly, both the facts alleged in Plaintiffs’ complaints and the facts adduced in discovery

are consistent with the Supreme Court’s conclusion in Collins that the Conservator acted

“reasonably” in executing the Third Amendment. Accordingly, under Collins as applied to the

factual record in this case, the implied covenant claim fails and summary judgment is warranted.

       Second, Plaintiffs’ implied covenant claim fails as a matter of law because Collins

necessarily establishes that the Conservator acted within the scope of its contractual discretion

under the shareholder contract when it executed the Third Amendment. Where a contract

authorizes one party to take an action and defines the scope of a parties’ discretion under the

contract, there is no gap to fill and accordingly no implied covenant applies. Here, HERA is

incorporated into the shareholder contract, including HERA’s “best interests” provision. See 12

U.S.C. § 4617(b)(2)(J)(ii) (“The Agency may, as conservator or receiver-- . . . take any action

authorized by this section, which the Agency determines is in the best interests of the regulated

entity or the Agency.”). Thus, the Conservator’s statutory and contractual discretion conferred

by HERA’s “best interests” clause are the same, and the Supreme Court’s conclusion in Collins



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that FHFA acted within the scope of that discretion requires rejection of Plaintiffs’ implied

covenant claim here.

        Third, Plaintiffs cannot meet their burden to prove with reasonable certainty that the

Third Amendment harmed shareholders, and even if they could, no such harm was foreseeable.

Plaintiffs attempt to demonstrate their injury by positing a but-for world without the Third

Amendment. But Plaintiffs’ but-for world assumes away much more than the Third

Amendment, and therefore fails to isolate the purported impact of the Third Amendment on

shareholders. Since well before the Third Amendment and continuing to this day, the Treasury

stock certificates have barred the Enterprises from paying down Treasury’s liquidation

preference. Plaintiffs have never challenged this feature of the Treasury stock certificates.

However, Plaintiffs attempt to establish harm by assuming a but-for world that hinges on the

assumption that Treasury would have agreed to allow the Enterprises to pay down Treasury’s

liquidation preference, which stood at $189.5 billion at the time the Third Amendment was

executed. The assumption is not grounded in the record and is speculative. Indeed, the only

reference in the record is that Treasury had previously not agreed to FHFA’s request to allow the

Enterprises the option to pay down the Treasury liquidation preference. Without this

assumption, Plaintiffs’ theory that they were harmed by the Third Amendment and suffered the

damages they seek falls apart. Defendants are thus entitled to summary judgment on this basis as

well.

        Fourth, Plaintiffs’ request for rescission and restitution on behalf of preferred

shareholders, as an alternative to standard expectation damages, fails as a matter of law. That

claim seeks equitable relief that 12 U.S.C. § 4617(f) bars. Plaintiffs ask this Court to rescind and

unwind all preferred shareholder contracts with the Enterprises and return the parties to the status



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quo ante before the stock was issued—refunding the issuance price to the current shareholder

(totaling over $28 billion) and requiring the Conservator to accept the return of stock certificates

issued as far back as 1996. However, the Supreme Court’s holding in Collins forecloses such

relief as Section 4617(f) bars a court from compelling the Conservator to distribute Enterprise

capital to shareholders.

       Moreover, Plaintiffs’ request for rescission and restitution also fails as a matter of law

because restoring the shareholders to their financial positions years before the 2008 financial

crisis would result in a massive and inequitable windfall to the preferred shareholders. It is a

well-established legal principle that stockholders knowingly assume the risk of market decline

when they purchase stock. By August 2012, before the Third Amendment was executed, the

preferred shares’ market value was significantly less than their issuance price due to a variety of

factors, including the overwhelming losses incurred by the Enterprises. Even Plaintiffs concede

that under their own flawed damages model the preferred shareholders would recover more if

awarded rescission and restitution than the value of their stock before the alleged breach.

Rescission and restitution is an equitable remedy and awarding it here would be highly

inequitable.

       Therefore, for each of these reasons, Defendants are entitled to summary judgment.

                                   STATEMENT OF FACTS

       Congress created Fannie Mae and Freddie Mac to increase home ownership by increasing

the funds available to lend to borrowers. The Enterprises purchase mortgages, pool the

mortgages into mortgage-backed securities (MBS), and sell them to investors guaranteeing

payment of principal and interest. See Defendants’ Statement of Material Undisputed Facts ¶ 1

(hereinafter “SMUF”). By doing so, the Enterprises “relieve mortgage lenders of the risk of

default and free up their capital to make more loans.” Jacobs v. FHFA, 908 F.3d 884, 887 (3rd
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Cir. 2018). This, in turn, increases the liquidity and stability of America’s home lending market

and promotes access to mortgage credit. SMUF ¶ 1.

       When the financial crisis hit, the Enterprises suffered significant and unprecedented

losses. In 2008 alone, Fannie Mae and Freddie Mac lost more than they had earned in the

previous 37 years combined. SMUF ¶ 4. In July 2008, in response to the crisis, Congress

enacted the Housing and Economic Recovery Act of 2008 (“HERA”). SMUF ¶ 5. HERA

created FHFA, established it as the Enterprises’ regulator, and empowered it to place the

Enterprises into conservatorship or receivership. Id. HERA also amended the charters of the

Enterprises by granting the U.S. Department of the Treasury (“Treasury”) temporary authority to

fund the Enterprises by purchasing Enterprise stock. Id.

       On September 6, 2008, FHFA’s Director placed both Fannie Mae and Freddie Mac into

conservatorships to stem the ongoing deterioration of the secondary mortgage market and doubts

about the Enterprises’ ability to absorb further losses. SMUF ¶ 6. The next day, Treasury

entered into Senior Preferred Stock Purchase Agreements (the “PSPAs”) with FHFA as

Conservator on behalf of the Enterprises. Under the PSPAs, Treasury committed to invest up to

$100 billion in each Enterprise as needed to ensure that the Enterprises maintained a positive net

worth (the Treasury “Commitment”). Id. In exchange for that extraordinary capital

commitment, Treasury received one million senior preferred shares in each company (the

“Treasury Stock”). Id. ¶ 7. The Treasury Stock entitled Treasury to several forms of

consideration, including: (i) a $1 billion senior liquidation preference—a priority right above all

other stockholders, whether preferred or otherwise, to receive distributions from assets if the

entities were liquidated; (ii) a dollar-for-dollar increase in that liquidation preference each time

Fannie or Freddie drew upon the Treasury Commitment; (iii) quarterly dividends that the



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Companies could either pay with cash at a rate of 10% of Treasury’s liquidation preference or

with an increase of the liquidation preference at a rate of 12% of Treasury’s liquidation

preference; (iv) warrants allowing Treasury to purchase up to 79.9% of Fannie’s and Freddie’s

common stock; and (v) periodic commitment fees over and above any dividends. Id.

       The Enterprises’ losses continued after being placed in conservatorships and the

Enterprises’ pre-conservatorship equity was exhausted by the end of 2008 such that in the

absence of the Treasury Commitment, HERA would have required that FHFA place the

Enterprises into mandatory receivership. See SMUF ¶ 11; 12 U.S.C. § 4617(a)(4). In order to

keep the Enterprises operational, and to avoid exhausting the finite Treasury Commitment that

was originally capped at $100 billion for each Enterprise, FHFA and Treasury twice amended

the PSPAs to increase the total amount of that Commitment. In May 2009, Treasury agreed to

double the Commitment to $200 billion for each company. SMUF ¶ 11. Seven months later, in

a Second Amendment to the PSPAs, FHFA and Treasury agreed to temporarily remove entirely

the cap on the Treasury’s Commitment, making it unlimited until the end of 2012, after which

time the Commitment would again become fixed. Id.

       Between 2008 and 2012, the Enterprises continued to draw on the Treasury Commitment,

compelled by quarter after quarter of negative net worth—that is, insolvency. By the middle of

2012, the Enterprises together had drawn over $187 billion on the Treasury Commitment.

SMUF ¶ 14. Because Treasury was entitled to receive annually 10% of the total amount drawn,

which the Enterprises paid through quarterly dividends, the more money the Enterprises drew,

the larger their dividend obligations became. The Enterprises also consistently lacked the cash to

pay the contractually-required 10% dividend, and they began the practice of “circular” dividend

payments—drawing funds from Treasury’s Commitment just to hand those funds back to



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Treasury as a part of their quarterly dividend. SMUF ¶ 12; see also Fairholme, 2018 WL

4680197 at *3. This too grew the size of the Treasury liquidation preference and thus the

subsequent dividend obligations. By mid-2012, Fannie Mae’s annual dividend obligation was

$11.7 billion and Freddie Mac’s annual dividend obligation was $7.2 billion. SMUF ¶ 14. For

Fannie Mae this dividend amount exceeded its annual historical income for every year since its

inception. Id. And for Freddie Mac, this dividend amount exceeded its annual historical income

in every year but one. Id.

       Under the PSPAs, the Treasury Commitment was to become fixed in January 2013.

SMUF ¶¶ 11–12. FHFA knew that if the circular dividends continued, they would have eroded

the Treasury Commitment starting in January 2013. Id. ¶¶ 12–17. Erosion of the Treasury

Commitment would have been detrimental to the Enterprises, and in turn, the overall secondary

mortgage market. SMUF ¶ 13. Since its execution, the Treasury Commitment has allowed the

Enterprises to continue to operate and maintain liquidity in the secondary mortgage market,

satisfy their obligations—including to holders of Enterprise debt—and provide confidence to

purchasers of the guaranteed MBS. Id. Erosion of the Commitment, or a risk of a future erosion,

would diminish the Enterprises’ ability to issue debt and MBS investors’ confidence in the

Enterprises’ ability to honor their guarantees, thereby decreasing the value of the Enterprises’

guarantee. The consequence would have jeopardized the liquidity of the housing finance market.

Id.

       In August 2012, the FHFA and Treasury amended the PSPAs for a third time, averting

the risk that the Enterprises would exhaust the Treasury Commitment because of “circular”

draws to pay the dividends. SMUF ¶¶ 19–20. The Third Amendment replaced the 10% fixed-

rate dividend with a variable dividend based on the Enterprises’ net worth, calculated on a



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quarterly basis. Id. ¶ 19. In addition, the Third Amendment suspended the Enterprises’

obligations to pay periodic commitment fees for so long as the variable/net worth dividend

formula remained in effect. Through that new dividend formula, the Enterprises would never

again draw on the Treasury Commitment just to make their quarterly dividend payments, thereby

precluding any dividend-driven threat to the Commitment. SMUF ¶ 20. Thus, the Conservator

chose a path designed to ensure the Enterprises’ continued support of the secondary mortgage

market, with the Third Amendment maximizing the remaining amount of the Treasury

Commitment that would be available to backstop the Enterprises’ operations in quarters when

earnings were insufficient to meet their obligations. SMUF ¶ 20; Collins, 141 S. Ct. at 1776–77.

                                    PROCEDURAL HISTORY

        In 2013, Plaintiffs—a collection of institutional and individual holders of Enterprise

shares issued prior to the conservatorships—brought these actions challenging the Third

Amendment on a variety of grounds. Certain of the Plaintiffs (the Class Plaintiffs) brought this

action on behalf of themselves and putative classes of Enterprise shareholders (No. 1:13-mc-

1288), while the Fairholme Plaintiffs brought this action on behalf of themselves only (No. 1:13-

cv-1053). Plaintiffs alleged that, in executing the Third Amendment, FHFA breached the

Administrative Procedure Act, and FHFA and the Enterprises breached the terms of their

shareholder contracts with the Enterprises and their state law fiduciary duties. Plaintiffs also

alleged that FHFA and the Enterprises breached an implied covenant of good faith and fair

dealing inherent in their stock certificates.

        In 2014, this Court dismissed Plaintiffs’ claims in their entirety. See Perry Cap. LLC v.

Lew, 70 F. Supp. 3d 208 (D.D.C. 2014) (“Perry I”). On appeal, the D.C. Circuit affirmed in part

and reversed in part, remanding some of Plaintiffs’ claims, including the implied covenant claim,

in 2017. See Perry Cap. LLC v. Mnuchin, 864 F.3d 591 (D.C. Cir. 2017) (“Perry II”). On
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remand, Plaintiffs amended their complaints with additional claims. See ECF No. 71 in

1:13mc1288 (Second Amended Consolidated Class Action and Derivative Complaint), ECF No.

75 in 1:13cv1053 (Fairholme Amended Complaint). Defendants again moved to dismiss, and

this Court dismissed all of Plaintiffs’ claims, save one: the claim for breach of the implied

covenant of good faith and fair dealing in the contracts that shareholders have with the

Enterprises. See Fairholme Funds, 2018 WL 4680197, at *17.

       On June 23, 2021, the United States Supreme Court issued its decision in Collins v.

Yellen, 141 S. Ct. 1761 (2021), another shareholder action challenging the Third Amendment

under Administrative Procedure Act and constitutional theories. In pertinent part, the Supreme

Court unanimously held that FHFA, in its capacity as conservator, acted within its statutory

powers and functions under the Housing and Economic Recovery Act of 2008 (“HERA”) in

executing the Third Amendment, and thus 12 U.S.C. § 4617(f) barred the shareholders’ claims

seeking equitable relief with respect to the Third Amendment. Id. at 1777–78.

       On December 8, 2021, this Court granted Plaintiffs’ unopposed motion for class

certification, certifying three classes of Enterprise shareholders and appointing class counsel.

See ECF Nos. 138, 139 (1:13mc1288).

       On February 22, 2022, the Federal Circuit issued its decision in Fairholme Funds, Inc. v.

United States --- F.4th ---, 2022 WL 518222 (Fed. Cir. Feb. 22, 2022), the parallel litigation

originally filed in the Court of Federal Claims by Enterprise shareholders. The Federal Circuit

dismissed all shareholder claims brought against the United States based on the execution of the

Third Amendment.

                                   STANDARD OF REVIEW

       A court may grant summary judgment where a movant “shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
                                                 10
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R. Civ. P. 56(a). Courts must “view the evidence in the light most favorable to the nonmoving

party and draw all reasonable inferences in its favor.” Athridge v. Aetna Cas. & Sur. Co., 604

F.3d 625, 629 (D.C. Cir. 2010) (internal quotation marks and citations omitted). To show that a

dispute is “genuine,” the nonmoving party must present evidence “such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). “If the evidence is merely colorable, or is not significantly probative, summary

judgment may be granted.” Id. at 249–50 (citations omitted). A mere “scintilla of evidence in

support of the plaintiff’s position will be insufficient; there must be evidence on which the jury

could reasonably find for the plaintiff.” Id. at 252.

                                           ARGUMENT

I.     The Supreme Court’s Unanimous Holding in Collins that the Conservator’s
       Execution of the Third Amendment Was Reasonable Defeats Plaintiffs’ Implied
       Covenant Claim

       The Supreme Court’s unanimous ruling in Collins requires summary judgment be entered

in favor of Defendants on Plaintiffs’ implied covenant claim. In Collins, the Supreme Court

answered in Defendants’ favor the precise question this Court identified as necessary to resolve

Plaintiffs’ implied covenant claim: whether FHFA acted arbitrarily or unreasonably in agreeing

to the Third Amendment. See Fairholme Funds, 2018 WL 4680197, at *13 (framing “[t]he

question” necessary to make a liability determination as “whether Defendants exercised their

discretion arbitrarily or unreasonably in a way that frustrated Plaintiffs’ expectations under the

contract”). Assuming the truth of factual allegations materially identical to those advanced in

this case, the Supreme Court ruled that the Conservator’s execution of the Third Amendment

was reasonable. In particular, the Supreme Court held that FHFA “reasonably concluded” that

the Third Amendment furthered the public interest in a stable secondary mortgage market, and

that FHFA was thus authorized to execute the Third Amendment. Collins, 141 S. Ct. at 1777.

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Because reasonable conduct cannot breach the implied covenant as a matter of law, Plaintiffs

cannot prove a central element of their claim, entitling Defendants to summary judgment.

       The implied covenant is a “cautious enterprise,” whereby courts “infer[] contractual

terms to handle developments or contractual gaps that the asserting party pleads neither party

anticipated.” Fairholme Funds, Inc. v. FHFA, No. CV 13-1053 (RCL), 2018 WL 4680197, at *7

(D.D.C. Sept. 28, 2018) (quoting Nemec v. Shrader, 991 A.2d 1120, 1125 (Del. 2010)). Indeed,

the implied covenant “is a limited and extraordinary legal remedy” (Nemec, 991 A.2d at 1128),

that should be applied “rarely, and only in narrow circumstances.” Allied Capital Corp. v. GC-

Sun Holdings L.P., 910 A.2d 1020, 1032 (Del. Ch. 2006). Most significant here, courts may use

the implied covenant to fill gaps in a contract only when a party acts “arbitrarily or

unreasonably, thereby frustrating the fruits of the bargain that the asserting party reasonably

expected.” Fairholme Funds, 2018 WL 4680197, at *7 (emphasis added) (quoting Nemec, 991

A.2d 1120 at 1126).1

       In Collins, a unanimous Supreme Court expressly held that the execution of the Third

Amendment was a reasonable exercise of FHFA’s authority under HERA—including under the



1
        A breach of implied covenant claim involves a two-pronged inquiry: (1) whether the
defendant acted arbitrarily and unreasonably, and (2) whether the defendant acted in a way that
was not reasonably expected by the plaintiff. See Fairholme Funds, 2018 WL 4680197, at *13;
TWA Res. v. Complete Prod. Servs., Inc., No. CIV.A. N11C-08100 (MMJ), 2013 WL 1304457,
at *10–11 (Del. Super. Ct. Mar. 28, 2013). Plaintiffs must satisfy both prongs of the test to
prevail on their claim. See TWA Res., 2013 WL 1304457 at *11 (“If [Plaintiff] succeeds in
demonstrating that its reasonable expectations under the [agreement] have been thwarted, in
order to benefit from the implied covenant of good faith and fair dealing, [Plaintiff] next must
prove that Defendants have acted arbitrarily or unreasonably.” (citing Nemec, 991 A.2d at
1126)). Because Collins establishes that Plaintiffs fail to satisfy the first prong (arbitrary and
unreasonable), this Court need not address the second prong (reasonable expectations) to grant
summary judgment. In all events, there is also ample evidence that market participants,
including major analysts in published reports, anticipated that FHFA and Treasury might agree to
revise the PSPA dividend structure, including via a mechanism by which all of the Enterprises’
profits would be paid to Treasury. See SMUF ¶ 16.
                                                12
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“best interests” provision. Collins, 141 S. Ct. at 1776–78. The Court so ruled even after

accepting the allegations in the Collins complaint as true, holding that FHFA “reasonably

concluded” that the Third Amendment furthered its public mission to maintain a stable

secondary mortgage market. Id. at 1777.2 The Supreme Court reached this conclusion by

evaluating in detail whether FHFA’s execution of the Third Amendment fit within the scope of

FHFA’s authority under HERA to fulfill its public mission. The Court first observed that

HERA “authorizes [FHFA] to act . . . ‘in the best interests of the regulated entity or the Agency

. . . and, by extension, the public it serves.’” Id. at 1776 (emphasis in original). This provision

thus allows FHFA to “subordinate the best interests of the [Enterprises] to its own best interests

and those of the public.” Id. at 1785.

       The Supreme Court described in detail the Third Amendment’s benefits to the secondary

mortgage market: “The facts alleged in the complaint demonstrate that the FHFA chose a path

of rehabilitation that was designed to serve public interests by ensuring Fannie Mae’s and

Freddie Mac’s continued support of the secondary mortgage market.” Id. at 1776 (emphasis

added). The Court recited the Enterprises’ historical inability to afford the 10% dividend

payments and the risk of erosion of the Treasury commitment due to dividends and circular

draws. “If things had proceeded as they had in the past, there was a realistic possibility that the

companies would have consumed some or all of the remaining capital commitment in order to

pay their dividend obligations, which were themselves increasing in size every time the

companies made a draw.” Id. at 1777. Collins observed that “[t]he third amendment eliminated

this risk by replacing the fixed-rate dividend formula with a variable one. Under the new



2
       See also Collins v. Mnuchin, 938 F.3d 553, 563 (5th Cir. 2019) (reviewing dismissal of
APA claim under Rule 12(b)(6)); Collins, 141 S. Ct. at 1175–76 (affirming dismissal of the
shareholders’ statutory claim).
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formula, the companies would never again have to use capital from Treasury’s commitment to

pay their dividends. And that, in turn, ensured that all of Treasury’s capital was available to

backstop the companies’ operations during difficult quarters.” Id. The Court thus concluded:

“[w]hether or not this new arrangement was in the best interests of the companies or their

shareholders, the FHFA could have reasonably concluded that it was in the best interests of

members of the public who rely on a stable secondary mortgage market.” Id.

       Collins leaves Plaintiffs no path to establish that FHFA “exercised [its] discretion

arbitrarily or unreasonably” in executing the Third Amendment, and therefore Plaintiffs cannot

prevail on their implied covenant claim. Under HERA, FHFA is authorized to further its public

mission—facilitating operation of the secondary mortgage market, and the Third Amendment did

just that. The Supreme Court held that FHFA exercised its statutory authority “reasonably”

when it executed the Third Amendment. Collins, 141 S. Ct. at 1776–78. Indeed, the Supreme

Court rejected the shareholder plaintiffs’ argument in that case that the Third Amendment “did

not actually serve the best interests of the FHFA or the public,” setting up and knocking down

each of the plaintiffs’ critiques of the Third Amendment—the very same critiques that form the

basis of the Plaintiffs’ claim here. See id. at 1777-78.

       For example, the Supreme Court assumed as true the plaintiffs’ allegation that the

Enterprises “were on the precipice of a financial uptick and that they would soon have been in a

position not only to pay cash dividends, but also to build up capital buffers to absorb future

losses.” Id. The Supreme Court also recognized that, under the facts alleged, the Third

Amendment “made certain that [the Enterprises] would never be able to build up their own

capital buffers, pay back Treasury’s investment, and exit conservatorship.” Id. at 1777.

Nevertheless, the Supreme Court concluded that HERA permitted FHFA to pursue an



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amendment that “the Agency reasonably viewed as more certain to ensure market stability” than

the “shareholders’ suggested strategy,” which FHFA was permitted “to reject” under HERA. Id.

(emphasis added). The Court explained that the shareholders’ strategy was “dependent on

speculative projections about future earnings, and recent experience had given the FHFA reasons

for caution. . . . With the aim of more securely ensuring market stability, the FHFA did not

exceed the scope of its conservatorship authority by deciding on what it viewed as a less risky

approach.” Id.

       The allegations here are materially identical to those the Supreme Court considered,

assumed true, and rejected as insufficient in Collins. Thus, the Supreme Court’s holding that

FHFA acted reasonably in executing the Third Amendment applies with full force here, and is

dispositive of Plaintiffs’ implied covenant claim.

       Moreover, although this Court need not look beyond Collins to grant summary judgment

in favor of Defendants, the evidence adduced in discovery—when viewed in conjunction with

Collins—confirms there is no genuine dispute of material fact. Indeed, the discovery record is

fully consistent with—and provides additional support for—the Supreme Court’s conclusion that

the Conservator’s decision to execute the Third Amendment was reasonable. For example, in

Collins, the Supreme Court explained that the Conservator chose the Third Amendment “[w]ith

the aim of more securely ensuring market stability … [by] deciding on what it viewed as a less

risky approach” that was “more certain to ensure market stability.” Collins, 141 S. Ct. at 1777.

In this case, deposition testimony by Edward DeMarco—FHFA’s Acting Director at the time the

Third Amendment was executed—confirms that the Third Amendment addressed FHFA’s

concerns about “several major uncertainties,” including the possibility of a “further downturn or




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a subsequent downturn in the economy and in the housing markets.” SMUF ¶ 18 (quoting

Ex. DD, DeMarco Dep. at 61 (Dec. 21, 2020)).

       Similarly, the Supreme Court explained that the Third Amendment “was adopted at a

time when the companies’ liabilities had consistently exceeded their assets over at least the prior

three years . . . . [T]he companies had repeatedly been unable to make their fixed quarterly

dividend payments without drawing on Treasury’s capital commitment . . . [and] the cap on

Treasury’s capital commitment was scheduled to be reinstated at the end of the year.” Collins,

141 S. Ct. at 1777. Again, Mr. DeMarco testified that FHFA knew there were additional risks to

the Enterprises’ ability to meet their dividend obligations over and above the obvious market-

related risks. FHFA under his direction was “on a path, as conservator, to shrink the footprints

of the companies, which is going to reduce their income, and . . . the Treasury Department, is

actively advocating for the wind-down of these companies, and . . . in Congress, there is nobody

saying we want to keep these companies as they are.” SMUF ¶ 18 (quoting Ex. DD, DeMarco

Dep. at 247 (Dec. 21, 2020)). Thus, there were additional risks at play for FHFA beyond those

the Supreme Court relied on in Collins.

       Further, there is also no genuine issue of fact that the Third Amendment eliminated the

risk that the Enterprises would need to draw on the Treasury commitment to pay dividends.

SMUF ¶ 20. It is also undisputed that many major market analysts responded positively to the

Third Amendment, explaining how it mitigated concerns about the sufficiency of the Treasury

Commitment. Id. ¶ 22. Fitch Ratings observed that the Third Amendment “alleviate[d] potential

concerns about a breach of the [Treasury] support cap, which kicks in next year [in 2013] under

the funding agreement with Treasury.” Id. Moody’s called the Third Amendment “a credit

positive” because it “ensures that each company will have sufficient contingent capital under its



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Capital Agreement with the US Treasury.” Id. Barclays stated that the Third Amendment “puts

to rest any worries about [Enterprise] credit risk even in intermediate/longer maturities” (id.),

and Guggenheim Partners concluded that “Fannie and Freddie will be on a stronger financial

footing” because of the Third Amendment. Id. (emphasis added).

       Thus, although the Court need not look beyond Collins, the evidence adduced in

discovery is consistent with the Supreme Court’s conclusions and fully supports judgment in

favor of Defendants on Plaintiffs’ implied covenant claim.

II.    Plaintiffs’ Implied Covenant Claim Fails Because the Contract, Which Incorporated
       HERA, Authorized the Third Amendment and Left No Gaps to Fill

       Plaintiffs’ breach of implied covenant claim fails for a separate reason: this Court held

that the shareholder contract incorporates HERA, and the Supreme Court held that HERA

“authorized” the Conservator to execute the Third Amendment. Collins, 141 S. Ct. at 1777.

Thus, the shareholder contract authorized FHFA to execute the Third Amendment.

       As recently confirmed by the Delaware Supreme Court, the implied covenant cannot

“modify or negate an unrestricted contractual right authorized by an agreement.” Glaxo Grp.

Ltd. v. DRIT LP, 248 A.3d 911, 921 (Del. 2021); accord Land & Marine Remediation, Inc. v.

BASF Corp., No. 2:11CV239, 2012 WL 2415552, at *12 (E.D. Va. June 26, 2012) (applying

Virginia law).3 Here, the shareholder contract incorporates HERA’s terms. On remand

following the D.C. Circuit’s decision in Perry Capital, this Court addressed the nature of the

Plaintiffs’ shareholder contract and found that “investor contracts with corporations are

different” from traditional contracts because they “include[] not only documents such as the



3
        See Perry II, 864 F.3d at 626 n.24 (applying Delaware and Virginia law); Fairholme
Funds, 2018 WL 4680197, at *2 (same, observing “The GSEs hence enacted bylaws in which
they elected to follow a chosen state’s law—Delaware law for Fannie Mae and Virginia law for
Freddie Mac.”).
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stock certificate, certificate of designations, the corporate charter, and bylaws, but also the

corporate law under which the corporation is formed and regulated.” Fairholme, 2018 WL

4680197, at *8. “Changes to these [shareholder] contracts may . . . come in the form of changes

in law,” and for the Enterprises, the relevant law includes HERA. Id. at *8–9. As such, the

Court held that “changes to federal law—i.e., those affecting the governance of the [Enterprises]

and their relationship with their shareholders—amend or inform the investor contract.” Id. at *9.

Thus, HERA is a fundamental part of the shareholder contract.

       Further, in Collins, the Supreme Court held that HERA “authorized” the Conservator to

execute the Third Amendment, notwithstanding its alleged impact on the shareholders, because

HERA permits FHFA to “subordinate” the best interests of the company (and thus the

company’s shareholders) to “its own best interests and those of the public.” Collins, 141 S. Ct.

at 1785; see also Fairholme Funds, 2022 WL 518222, at *12 (“HERA expressly authorized the

FHFA, as conservator, to act in ways which were not designed to benefit either the Enterprises or

its shareholders” (emphasis in original)). Because HERA—and thus the shareholder contract—

“authorized” FHFA to execute the Third Amendment, there is no “gap to fill in the

Agreement[s]” and the implied covenant is inapplicable. Glaxo, 248 A.3d at 921; see also id. at

920–21 (distinguishing between exercise of express, unrestricted contractual rights and

discretionary contractual rights); Vergara v. Apple REIT Nine, Inc., No. 19-cv-02027 (DLI)

(RML), 2020 WL 8673038, at *6 (E.D.N.Y. Mar. 31, 2020) (summarizing Virginia law as

recognizing the same distinction).

       Moreover, while the implied covenant applies when a contract confers discretion on one

party (see Perry II, 864 F.3d at 631), the implied covenant does not apply where the contract

defines the scope of discretion that that party may exercise. See DG BF, LLC v. Ray, No. CV



                                                 18
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2020-0459-MTZ, 2021 WL 776742, at *15 (Del. Ch. Mar. 1, 2021) (“An essential predicate for

the application of the implied covenant is the existence of a gap in the relevant agreement. . . .

Even [when a contract confers discretion on one party], the implied covenant does not come into

play when the scope of discretion is specified, because in that instance, there is no gap.”

(emphasis added) (internal quotation marks and citations omitted)).4 Contracts can define the

scope of discretion in a variety of ways, including by “identify[ing] factors that the decision-

maker can consider” or “provid[ing] a contractual standard for evaluating the decision.”

Policemen’s Annuity, 2012 WL 3548206, at *11. For such contracts, courts can evaluate

whether the party acted within its contractually defined discretion without resort to the implied

covenant.5

       Here, HERA defines the scope of any discretion conferred on FHFA by the shareholder

contract. Indeed, the Supreme Court in Collins specifically evaluated whether the Conservator’s


4
        See also Policemen’s Annuity & Benefit Fund of Chicago v. DV Realty Advisors LLC,
No. CIV.A. 7204-VCN, 2012 WL 3548206, at *12 (Del. Ch. Aug. 16, 2012) (“When a contract
provision states how a grant of discretion is to be exercised, there is no place for the implied
covenant in that provision.”), aff’d sub nom. DV Realty Advisors LLC v. Policemen’s Annuity &
Benefit Fund of Chicago, 75 A.3d 101 (Del. 2013); Old Dominion Elec. Co-op. v. Ragnar
Benson, Inc., No. 305-CV-034, 2006 WL 2252514, at *9 (E.D. Va. Aug. 4, 2006) (under
Virginia law, implied covenant applies only to “unfettered discretion of one party,” and not when
the discretion is “expressly fettered” by the contract) (quoting Riggs Nat’l Bank of Washington,
D.C. v. Linch, 36 F.3d 370, 373 (4th Cir. 1994)).
5
         See, e.g., S’holder Representative Servs. LLC v. Medidata Sols., Inc., No. CV 19-1312-
RGA, 2020 WL 972618, at *5 (D. Del. Feb. 24, 2020) (dismissing implied covenant claim
because the contract “expressly delineated the limits of Defendant’s discretion” by stating
defendant could operate the business “in any manner in which [Defendant] deems appropriate in
its sole and good faith discretion”); Heritage Handoff Holdings, LLC v. Fontanella, No. CV 16-
691-RGA, 2018 WL 3580287, at *3 and n.1 (D. Del. July 25, 2018) (rejecting implied covenant
claim at summary judgment because the contract required the parties to act “reasonably” in
request documents from the other, which “appropriately states the scope of the party’s
discretion”); Policemen’s Annuity, 2012 WL 3548206, at *12 (implied covenant did not apply
where contract allowed removal of managing partner if limited partners “in good faith determine
that such removal is necessary for the best interest of the [Limited] Partnership” (emphasis
added)).
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execution of the Third Amendment fit within the scope of its discretion under the “best interests”

provision, and held that it squarely did. Collins, 141 S. Ct. at 1776–78. HERA’s best interests

clause is word-for-word part of the shareholder contract, which necessarily means that when the

Conservator acted within the scope of its statutory discretion, it acted within its contractual

discretion as well. Thus, the Conservator had both statutory and contractual authority to

“subordinate” shareholder interests in favor of the public interest. Id. at 1785. This is fatal to

Plaintiffs’ claim.

        Because the contract, incorporating HERA, left no gaps to fill, Plaintiffs’ implied

covenant claim fails as a matter of law.

III.    Plaintiffs’ Implied Covenant Claim Fails Because Plaintiffs Cannot Prove Any
        Harm Caused by the Third Amendment

        Defendants are also entitled to summary judgment for the separate and independent

reason that Plaintiffs cannot prove with reasonable certainty that they were harmed by the Third

Amendment, or that the alleged harm resulting from the Third Amendment was foreseeable.

This is because Plaintiffs’ theory that shareholders were harmed and their corresponding

damages model is entirely dependent upon an assumption unsupported by any record evidence—

namely, that in the absence of the Third Amendment, Treasury would have agreed to allow the

Enterprises to pay down the Treasury liquidation preference. With this baseless assumption

removed, Plaintiffs cannot prove damages, entitling Defendants to summary judgment.

        A.      Plaintiffs’ Expectation Damages Theory Is Built on an Unsupported And
                Erroneous Assumption that the Enterprises Could Pay Down the Treasury
                Liquidation Preference in the Absence of the Third Amendment

        Through their damages expert, Dr. Joseph Mason, Plaintiffs purport to demonstrate the

fact of harm from the Third Amendment, as well as the quantum of damages resulting therefrom.

Plaintiffs posit a “but-for” world absent the Third Amendment in which the Enterprises


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eventually would have begun paying dividends to private shareholders sometime between 2029

and 2032. See Mason Report ¶¶ 12, 31 (Aug. 27, 2021) (attached as Exhibit MM).6 Plaintiffs

then calculate the present value of those forgone, future dividends and call them expectation (or

benefit of the bargain) damages suffered by shareholders. See id.

       But Plaintiffs’ theory is built on a chain of speculative assumptions about how the

Enterprises, in the but-for world, would satisfy a host of other financial obligations in the

decades following the execution of the Third Amendment before beginning to pay dividends to

shareholders. See Ex. MM ¶ 42 (Mason Report).7 The most egregious—and fundamental—of

Plaintiffs’ assumptions is that Treasury would have agreed to allow the Enterprises to pay down

the Treasury liquidation preference beginning in January 2013.

       It is undisputed that the Treasury stock certificates, as originally issued by the

Enterprises, have never allowed the Enterprises to pay down the Treasury liquidation preference.

See SMUF ¶ 8 (citing Treasury Stock Cert. § 3(a): “the Company may pay down the Liquidation



6
       See Reference Manual on Sci. Evid. at 433 (3d ed.), 2011 WL 7724259, at *5 (A “but-for
scenario hypothesizes the absence of that wrongdoing, that is, performance consistent with the
expectations of the parties. Expectation damages are an amount sufficient to give the plaintiff
the same economic value the plaintiff would have received if the defendant had fulfilled the
promise or bargain.”).
7
         In particular, in Plaintiffs’ but-for world, the Enterprises must make enough profits to do
all of the following before paying dividends to the shareholders: (1) pay 10% dividends to
Treasury (totaling approximately $19 billion per year as of August 2012), (2) pay periodic
commitment fees to Treasury, (3) pay off Treasury’s outstanding liquidation preference (totaling
approximately $187 billion as of August 2012), and (4) build up and maintain capital reserves
sufficient to meet regulatory capital levels set by FHFA. See Ex. MM at ¶ 42 (Mason Report)
(“This analysis assumes that earnings of the [Enterprises] are not ‘swept’ by the Treasury, but
that earnings above the SPS [10% dividend] coupons and [periodic] commitment fees (if any) are
used to pay down the SPS [liquidation preference] and then build capital, after which such
earnings are available to pay dividends.”). Plaintiffs assert the Enterprises would satisfy all of
these obligations and begin paying dividends to private shareholders between 2029 and 2032.
See Ex. MM at Ex. 1 (Mason Report).

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Preference . . . but only to the extent of” periodic commitment fees and dividends previously

added to the liquidation preference and not paid in cash (emphasis added)).8 Further, the

Enterprises’ inability to pay down the Treasury liquidation preference was well known to the

market. In its quarterly financial statement issued the week before the Third Amendment was

executed, Fannie Mae stated: “we are not permitted to pay down the liquidation preference of the

outstanding shares of [Treasury] senior preferred stock except to the extent of (1) accrued and

unpaid dividends previously added to the liquidation preference and not previously paid down;

and (2) quarterly commitment fees previously added to the liquidation preference and not

previously paid down.” SMUF ¶ 9 (quoting Ex. G at p.54 (Fannie 10-Q for 2Q 2012)) (emphasis

added). Freddie Mac similarly stated: “Under the [PSPA], our ability to repay the liquidation

preference of the senior preferred stock is limited and we will not be able to do so for the

foreseeable future, if at all.” SMUF ¶ 9 (quoting Ex. H at p.89 (Freddie 10-Q for 2Q 2012))

(emphasis added).

       In his initial report, Dr. Mason assumed without support or explanation that the

Enterprises would be permitted to pay down the Treasury liquidation preference in the but-for

world beginning in January 2013. See Ex. MM ¶ 42 (Mason Report). When asked at his

deposition the basis for this assumption, Dr. Mason testified that he “didn’t see anything in the

PSPAs that prohibited such paydown of the liquidation preference.” Deposition of Joseph

Mason at 86 (Sept. 16, 2021) (“Mason 2021 Dep.”) (excerpts attached as Exhibit NN). He also

testified that he “asked the [Plaintiffs’] attorneys in these matters for guidance on this, and my

understanding and also my reading of PSPAs, suggest that they’re silent on paying down the




8
        While the Treasury stock certificates do require pay down of the liquidation preference in
certain narrow circumstances, none of those circumstances is present here. See SMUF ¶ 8.
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liquidation preference.” Id. Dr. Mason’s understanding is clearly incorrect, and that is fatal to

Plaintiffs’ claims. As explained above, the Treasury stock certificate is not “silent on paying

down the liquidation preference”; it expressly states that pay down is limited to situations that do

not apply here.9

          In his rebuttal report, Dr. Mason did not acknowledge his error. Rather, he rationalized

his assumption by stating that “Treasury would be in favor of an SPS paydown” in the but-for

world because it would have been “in the[ir] positive interest” and “consistent with historical

governmental precedent.” Mason Reply Report ¶ 108 (Mar. 1, 2022) (attached as Exhibit OO).

This is mere conjecture. Dr. Mason identifies no record evidence to support his opinion that

Treasury believed it was in its “positive interest” to permit pay down. Further, just because a

course of action may have been one of the courses of action that might be in Treasury’s interest

does not mean that there was a reasonable certainty that Treasury would have taken that course

of action in the but-for world. Dr. Mason’s cursory opinion only touches on the former, not the

latter.

          In his deposition testimony, Dr. Mason acknowledged that, “[i]n the real world, certainly

Treasury has not permitted paydown.” Deposition of Joseph Mason at 101-02 (Mar. 16, 2022)

(emphasis added) (“Mason 2022 Dep.”) (excerpts attached as Exhibit PP). But he took the view

that Treasury might agree to permit pay down if only Treasury were asked: “I don’t know that

they [Treasury] were even asked to allow paydown, to be honest.” Id. (emphasis added).




9
        This is not the first time Dr. Mason’s attempt to calculate a but-for world has been
infected with erroneous assumptions. In Phoenix Light SF Ltd. v. Bank of New York Mellon,
No. 14-CV-10104 (VEC), 2020 WL 2765044, at *3 (S.D.N.Y. May 28, 2020), the court
excluded one of Dr. Mason’s damages calculations where an assumption in Dr. Mason’s “but-
for” model was “not grounded in reality” and, thus, its inclusion in the model “corrupted its
output beyond reason.”
                                                  23
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       In fact, the undisputed record evidence shows that FHFA did ask Treasury to allow for

pay down and Treasury did not accept the request. Specifically, in 2009, in the course of the

negotiations around both the First and Second Amendments, FHFA asked Treasury to amend the

PSPAs to allow for a voluntary pay down of their liquidation preferences. SMUF ¶ 10 (citing

TREASDDC00002323 and 2324 (Feb. 25, 2009 letter from A. Pollard to S. Albrecht) (proposing

a “simple revision to each [Treasury stock] Certificate, easing the impediments to optional pay

down” of the liquidation preference); FHFA-DDC-0402385 and 2386 (Dec. 3, 2009 e-mail from

S. Smith to R. Covino, M. Ugoletti) (similar, proposing revisions to allow Enterprises to pay

down liquidation preference “at any time”)). Treasury did not agree to these requests, and the

First and Second Amendments did not amend the PSPAs to allow pay down of the liquidation

preference. SMUF ¶ 10. Dr. Mason’s apparent ignorance of these undisputed facts confirms that

Plaintiffs’ damages theory is built on an erroneous foundation.

       B.      Plaintiffs Cannot Prove with Reasonable Certainty the Fact of Damages or
               that the Third Amendment Caused the Alleged Damages

       Under Delaware and Virginia law, to prevail on a claim for breach of the implied

covenant of good faith and fair dealing, a plaintiff must prove with “reasonable certainty” both

“the existence of damages” and that those damages “flowed from the defendant’s violation of the

contract.” eCommerce Indus., Inc. v. MWA Intel., Inc., No. CV 7471-VCP, 2013 WL 5621678,

at *13 (Del. Ch. Sept. 30, 2013); Saks Fifth Ave., Inc. v. James, Ltd., 272 Va. 177, 188 (2006)

(plaintiff bears the “burden of proving with reasonable certainty the amount of damages and the

cause from which they resulted” (quotation marks and citation omitted)).10 Here, Plaintiffs’


10
       Plaintiffs alleging a breach of the implied covenant of good faith and fair dealing is
contractual in nature must prove damages in the same manner as for a breach of contract claim.
See ASB Allegiance Real Est. Fund v. Scion Breckenridge Managing Member, LLC, 50 A.3d
434, 445 (Del. Ch. 2012) (“[A] claim for breach of the implied covenant is a contract claim,
requires proof of breach-of-contract elements, and yields contract remedies”), rev’d on other
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baseless assumption that the Enterprises would have been allowed to pay down the liquidation

preferences in their but-for world results in Plaintiffs’ damages theory failing to meet multiple

legal requirements necessary to survive summary judgment.

       No Reasonably Certain Causation. There is no genuine dispute of fact over the issue of

causation because Plaintiffs have not isolated the alleged harm caused by the Third Amendment,

as opposed to alleged harm caused by the pre-Third Amendment prohibition on pay down of the

liquidation preferences, which Plaintiffs have never challenged. See Perry II, 864 F.3d at 609

(observing plaintiffs “accept that the original Stock Agreements and the First and Second

Amendments fit comfortably within FHFA’s statutory authority as conservator” and describing

them as “unchallenged and thus presumptively proper” (emphasis added)).

       When attempting to prove damages with a but-for model, the model must isolate the

purported harm flowing from the alleged breach. A “but-for scenario hypothesizes the absence

of that wrongdoing, that is, performance consistent with the expectations of the parties.

Expectation damages are an amount sufficient to give the plaintiff the same economic value the

plaintiff would have received if the defendant had fulfilled the promise or bargain.” Reference

Manual on Sci. Evid. at 433 (3d ed.), 2011 WL 7724259, at *5. However, the but-for world

must “differ[] from what actually happened only with respect to the harmful act” in order to

“isolate the loss of value caused by the harmful act and exclude any change in the plaintiff’s

value arising from other sources.” Id. (emphasis added). Indeed, courts “will not award

expectancy damages where the plaintiff has not produced sufficient evidence to perform the




grounds, 68 A.3d 665 (Del. 2013); Frank Brunckhorst Co., LLC v. Coastal Atlantic, Inc., 542 F.
Supp. 2d 452, 462 (E.D. Va. 2008) (Under Virginia law, breach of implied covenant “only gives
rise to a breach of contract claim”).
                                                25
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necessary comparison between the breach and non-breach worlds.” Stockton East Water District

v. United States, 133 Fed. Cl. 204, 220 (2017) (citation and internal quotation marks omitted).

       Here, the Plaintiffs’ but-for world does not differ from what actually happened only with

respect to the Third Amendment. Rather, Plaintiffs’ but-for world also assumes a new

agreement between Treasury and FHFA to allow the Enterprises to voluntarily pay down the

Treasury liquidation preferences beginning in January 2013. Plaintiffs’ but-for world is thus

fundamentally flawed and legally deficient because it does not isolate the alleged harm caused by

the Third Amendment, as opposed to the inability of the Enterprises to pay down the Treasury

liquidation preferences.11

       No Reasonably Certain Damages. There is also no genuine dispute of fact over whether

Plaintiffs can prove the fact of damages with reasonable certainty—they cannot. “Damages that

are contingent, speculative, and uncertain are not recoverable because they cannot be established

with reasonable certainty.” Sunrise Continuing Care, LLC v. Wright, 671 S.E.2d 132, 135 (Va.

2009) (reversing jury verdict in favor plaintiff on breach of contract claim where plaintiff had

“failed to present sufficient evidence upon which the jury could base an award of damages

without resorting to speculation or conjecture”); see also Fletcher Int’l, Ltd. v. Ion Geophysical

Corp., No. CV 5109-CS, 2013 WL 6327997, at *17 (Del. Ch. Dec. 4, 2013) (plaintiffs must

show “the injuries suffered are not speculative or uncertain”) (citation and internal quotation



11
        The Third Amendment and an agreement with Treasury to allow pay down of the
liquidation preferences are not alternatives. As noted, FHFA requested Treasury allow pay down
in 2009, before the Third Amendment (and Treasury did not agree). Further, Plaintiffs concede
that a pay down mechanism is independent of the Third Amendment. Plaintiffs’ liability expert
Dr. Bala Dharan opines that there were multiple alternatives to the Third Amendment that FHFA
and Treasury could have undertaken and that would have been reasonable. But none of those
alternatives identified by Dr. Dharan include or depend upon a pay down of liquidation
preferences by the Enterprises. See Dharan Rebuttal Report (Mar. 1, 2022) ¶¶ 31-38 (attached as
Exhibit QQ).
                                                26
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marks omitted). Accordingly, courts routinely grant summary judgment in favor of defendants

on breach of contract or implied covenant claims where the plaintiff has failed to prove damages

with reasonable certainty. See, e.g., Cornerstone Therapy Servs., Inc. v. Reliant Post Acute Care

Sols., LLC, No. 2:16-cv-00018, 2018 WL 1370863, at *5 (W.D. Va. Mar. 16, 2018) (granting

summary judgment in favor of defendant where plaintiff “cannot prove any reasonably certain

pecuniary loss resulting from [defendant]’s violation of the [contract]”); Kronenberg v. Katz, 872

A.2d 568, 609 (Del. Ch. 2004) (same, where “[i]n the discovery record, [claimant] has failed to

proffer any tangible evidence of concrete damage” resulting from the breach).

       Courts consistently reject attempts to prove damages using but-for worlds that are based

on speculation or lack evidentiary support. For example, in Standard Federal Bank v. United

States, the plaintiff assumed—without evidence—that the bank would have invested additional

capital in the but-for world in the same manner as in the real world, and thus would have

achieved a similar rate of return. 62 Fed. Cl. 265, 286 (2004). The court found these

assumptions unwarranted, held plaintiff’s damages methodology was “deficient as a matter of

law,” and granted summary judgment in defendant’s favor on various breach of contract claims.

Id. at 298–99. Likewise, in eCommerce, the court rejected the counterclaim plaintiff’s damages

calculation because the alleged but-for world “rest[ed] primarily on a flawed assumption” that

the party had certain contractual rights that it did not have despite the breach. 2013 WL

5621678, at *43.12



12
        See also, e.g., Stockton East Water District, 133 Fed. Cl. at 224–25 (rejecting plaintiff’s
but-for world because it was “infected” by flawed assumptions and ignored several real world
factors that would have been present in the but-for world); Ne. Sav., F.A. v. United States, 91
Fed. Cl. 264, 340 (2010) (finding plaintiff’s but-for world to be “speculative and implausible”
where it relied on assumptions contrary to the evidence); Citizens Fin. Servs. v. United States, 64
Fed. Cl. 498, 511 (2005) (rejecting plaintiff’s but-for world where key assumptions were
contradicted by the evidence or unsupported by evidence); Bluebonnet Sav. Bank FSB v. United
                                                27
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       Here, Plaintiffs cannot prove the fact of damages with reasonable certainty because the

central assumption of their but-for world—an amendment to the PSPAs to allow pay down of the

liquidation preference—is erroneous and not supported by record evidence. Plaintiffs’ expert’s

speculation about whether it was in Treasury’s interest in the but-for world to agree to allow pay

down does not create a genuine dispute of material fact that would preclude summary judgment

in Defendants’ favor. It is undisputed that, both before and after the Third Amendment, Treasury

did not allow the Enterprises to pay down the liquidation preference. In 2009, FHFA asked

Treasury to allow pay down and Treasury did not agree—a fact of which Plaintiffs’ expert was

simply unaware. See SMUF ¶ 10; Ex. PP at 101-02 (Mason 2022 Dep.). Further, the PSPAs

have been amended three times since the Third Amendment, and it is undisputed that the no-pay-

down provision has never been altered. SMUF ¶ 10. In the most recent amendment (in 2021),

the PSPAs were restructured in a manner that substantially increases the liquidation preference

going forward. Id. ¶ 24. Plaintiffs cannot reconcile these indisputable real-world facts with Dr.

Mason’s conclusory assumption of what he believes is in Treasury’s interest.13

       No Foreseeability of Damages. Plaintiffs also cannot prove the damages they allegedly

suffered were foreseeable at the time of contracting. See Restatement (Second) of Contracts



States, 67 Fed. Cl. 231, 234 (2005) (rejecting assumptions embedded within plaintiff’s but-for
world because they were inaccurate, which proved “fatal to [the] model’s reliability”).
13
        There is also no record support for Plaintiffs’ assumption that, in the but-for world,
Treasury would have agreed before January 2013 to allow the Enterprises to pay down the
liquidation preference. The timing of this hypothetical pay down is significant. Plaintiffs’
theory of harm depends upon pay down starting in January 2013 so that in Plaintiffs’ but-for
world, the Enterprises’ profits in excess of the 10% dividend are applied to pay down the
liquidation preference. And as the liquidation preference gets paid down, the amount of the 10%
dividend in subsequent quarters decreases. Accordingly, if pay down were to happen later in the
but-for world—sometime after January 2013—it would reduce or eliminate Plaintiffs’ damages,
because it would lengthen the period before the Enterprises could begin paying dividends to
private shareholders.
                                                28
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§ 351 (1981) (“Damages are not recoverable for loss that the party in breach did not have reason

to foresee as a probable result of the breach when the contract was made.”); WSFS Fin. Corp. v.

Great Am. Ins. Co., No. CVN18C09088, 2019 WL 2323839, at *5 (Del. Super. Ct. May 31,

2019) (damages “are not recoverable unless they are foreseeable and are traceable to the

wrongful act and result from it”); R.K. Chevrolet, Inc. v. Hayden, 253 Va. 50, 56 (1997)

(damages recoverable “only if it is determined that the special circumstances” giving rise to

those damages were “within the contemplation of the parties to the contract”).

       Further, the need to prove foreseeability of damages is particularly acute where a plaintiff

seeks lost profits or other forms of consequential damages. See Pulte Home Corp. v. Parex, Inc.,

265 Va. 518, 527 (2003) (defining consequential damages as: “Such damage, loss, or injury as

does not flow directly and immediately from the act of the party, but only from some of the

consequences or results of such act” (quoting Black’s Law Dictionary)); WSFS Fin. Corp., 2019

WL 2323839, at *4 (consequential damages “are those that result naturally but not necessarily

from the wrongful act, because they require the existence of some other contract or

relationship”). Damages are consequential when they would not result directly from the

defendant’s alleged breach alone, but “only upon the happening of an intermediate event.” Pulte

Home, 265 Va. at 527. Consequential damages are foreseeable when they “follow[] from the

breach . . . as a result of special circumstances, beyond the ordinary course of events, that the

party in breach had reason to know” at the time of contracting. Restatement (Second) of

Contracts § 351 (1981) (emphasis added).

       Here, Plaintiffs seek “lost profits” damages based on “foregone dividends” in the but-for

world. Ex. NN at 201–12; 244–45 (Mason 2021 Dep.) (characterizing Plaintiffs’ damages as

economically equivalent “lost profits, very similar to [a] lost profits case” because the allegedly



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lost “profits do reach out into the future”). But the claimed expectancy damages do not flow

directly and immediately from the execution of the Third Amendment because they require the

occurrence of intermediate events in the but-for world—chief among them, Treasury’s

agreement to allow the Enterprises to pay down the liquidation preference.

       There is no genuine dispute that these damages were not foreseeable to the contracting

parties—FHFA and the shareholders—at the time of contracting. There is no record evidence

that either party could foresee Treasury allowing the Enterprises to pay down the liquidation

preference because, as discussed above, the contractual prohibition on pay down was known to

the market (SMUF ¶ 9), and the fact that Treasury did not allow pay down, despite FHFA’s

request, was known to FHFA (id. ¶ 10). Additionally, Plaintiffs can point to no evidence that, at

the time of the execution of the Third Amendment (in August 2012), shareholders reasonably

foresaw receiving dividends from the Enterprises nearly two decades later (i.e., 2029) because

FHFA had announced at the outset of the conservatorships that “the common stock and preferred

stock dividends will be eliminated.” SMUF ¶ 6 (emphasis added). Further, the PSPAs have

always barred the Conservator from “mak[ing] any other distribution” with respect to Enterprise

equity interests—including dividends to shareholders—without Treasury’s consent. SMUF ¶ 7

(quoting Ex. E § 5.1 (PSPA)). Accordingly, there is simply no evidence in the record that the

shareholders and FHFA contemplated, in August 2012 (or any other time), that (a) Treasury

would agree to allow the Enterprises to begin paying down of the liquidation preference in

January 2013, or (b) the Enterprises would be permitted to pay dividends to private shareholders




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beginning in or around 2029, despite the suspension of those dividends from 2008 and

Treasury’s ability to veto those dividends under the PSPAs.14

                                          *       *      *

       Plaintiffs’ erroneous and unsupported pay down assumption renders their damages theory

factually and legally deficient for multiple reasons. Because Plaintiffs cannot prove with

reasonable certainty that the execution of the Third Amendment caused them any harm, or that

any such harm was foreseeable at the time of contracting, Defendants are entitled to summary

judgment.

IV.    Plaintiffs’ Alternative Request for Restitution for Preferred Stockholders Fails
       Because It Is Barred as a Matter of Law

       Plaintiffs have asserted that they “may seek restitution damages (or ‘rescission’ in some

courts) on behalf of current [Enterprise] junior preferred shareholders,” as an alternative measure

of damages. Ex. MM ¶¶ 15, 94 (Mason Report). The Court need not address this remedy for

Plaintiffs’ implied covenant claim because that claim fails for all the reasons discussed above.

See supra Sec. I and II. Indeed, because Plaintiffs cannot establish liability for a breach of the

implied covenant, they cannot prove entitlement to any remedy at all—whether styled as

expectation damages or restitution. Nevertheless, should the Court reach this issue, it should rule

that Defendants are entitled to summary judgment on Plaintiffs’ alternative request for restitution

because that remedy is barred for several independent reasons.



14
       The time period for examining the parties’ reasonable expectations is August 2012. See
Fairholme Funds, 2018 WL 4680197, at *8 (Defendants “believe Plaintiffs’ implied covenant
claims must be considered in light of the stockholder contract as it existed at the time of the
alleged breach—i.e., at the time of the Third Amendment in August 2012. This is because,
according to Defendants, the parties’ reasonable expectations were updated with each
amendment to the broad, flexible contract, including the enactment of HERA. The Court agrees
with Plaintiffs in theory, but it is ultimately Defendants whose position wins out.” (emphasis
added) (internal citations omitted)).
                                                 31
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       A.      Section 4617(f) Bars Plaintiffs’ Alternative Request for Restitution

       Defendants are entitled to summary judgment on Plaintiffs’ alternative request for

restitution because it constitutes equitable relief, and HERA’s anti-injunction provision, 12

U.S.C. § 4617(f), bars all claims for equitable relief.

       According to Plaintiffs, restitution would involve “unwinding the [preferred shareholder]

contracts in their entirety,” “requiring the Defendants to disgorge the net benefits they have

received under th[ose] contracts,” and requiring all preferred shareholders to return their stock to

the Enterprises and “give up [their] right to the shares.” Ex. MM ¶¶ 94–95 (Mason Report).15

Plaintiffs’ claim for restitution would require the Enterprises would pay to the current

shareholders the price at which each series of preferred stock was initially issued, less the total

amount of dividends paid on the preferred shares. The intended effect of this restitution remedy

is to return the contracting parties—the Enterprises and the preferred shareholders—to the

positions they held before entering into the shareholder contracts in the first place. Plaintiffs

calculate the restitution amount as totaling $47.9 billion, which consists of $28.1 billion for the

shares and $19.7 billion in prejudgment interest (calculated from the date of the alleged breach

on August 17, 2012, through June 2022).16

       Plaintiffs rightly characterize this form of restitution as “rescission.” See Ex. MM ¶ 94

(Mason Report). “Rescission is the common, shorthand name for a composite remedy (more



15
         Plaintiffs have calculated restitution only for the Enterprises’ preferred stockholders, not
for any common stockholders. See Ex. MM at ¶¶ 94–95 (Mason Report). Further, Dr. Mason
testified that his calculation method involved simply identifying the “value of that which is paid”
(here, the preferred share issuance price), minus that which was received” (here, the dividends
received by the preferred shareholders). Ex. NN at 233 (Mason 2022 Dep.).
16
       Defendants dispute Dr. Mason’s calculation of restitution, but it is not necessary to
resolve that dispute because Plaintiffs’ alternative request for restitution is barred by Section
4617(f), irrespective of the manner in which it is calculated.
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fully, ‘rescission and restitution’) that combines the avoidance of a transaction and the mutual

restoration of performance thereunder.” Restatement (Third) of Restitution and Unjust

Enrichment § 54 cmt. a (2011); see also id. § 37 cmt. a (“This section describes an alternative

remedy for breach of contract that is sometimes called ‘restitution’ but is more easily recognized

under the name ‘rescission.’”). “Rescission remains a relatively uncommon remedy for breach

of contract.” Id. § 37 cmt. a.

        Courts consistently recognize that rescission is a form of equitable relief. See, e.g.,

Henkel of Am., Inc. v. Bell, 825 F. App’x 243, 252 n.5 (6th Cir. 2020) (describing “restitution

interest for contract damages” as “resembl[ing] an equitable claim”); Griggs v. E.I. DuPont de

Nemours & Co., 385 F.3d 440, 446 (4th Cir. 2004) (“Resort to a court of equity is typically

required if effective restitution can be obtained only through the cancellation or amendment of a

document.”); Budinich v. Bank United, FSB, No. CV-157833, 2016 WL 6892096, at *1 n.3

(D.N.J. Mar. 14, 2016) (“Plaintiff’s claims for declaratory relief and recission are forms of

equitable relief.”); Fed. Trade Comm’n v. Lanier L., LLC, No. 3:14-CV-786-J-34PDB, 2015 WL

9598794, at *3 (M.D. Fla. Dec. 8, 2015) (“Rescission or reformation of contracts, which seeks to

restore parties to a transaction to their status quo, is equitable.”); Roadmaster Indus., Inc. v.

Columbia Mfg. Co., 893 F. Supp. 1162, 1172 (D. Mass. 1995) (“rescission may be employed as

an equitable contract remedy”); Florsheim Co. v. Miller, 575 F. Supp. 84, 85 (E.D. Tex. 1983)

(“The court can grant equitable relief—by ordering recission of the contract . . . ”); see also

Restatement (Second) of Torts § 871 cmt. f (1979) (noting both the “Restatement, Second,

Contracts . . . and the Restatement of Restitution . . . are concerned primarily with equitable

relief, in the form of cancellation or rescission of a contract entered into or restitution of that of

which the plaintiff has been deprived.” (emphasis added)).



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       As this Court and the D.C. Circuit have recognized, Section 4617(f) “prohibit[s] claims

for declaratory, injunctive, and other forms of equitable relief as long as [FHFA] is acting within

its statutory conservatorship authority.” Perry II, 864 F.3d at 605–06. Again, Collins is

dispositive of the point. The Supreme Court held that FHFA acted within its powers and

functions as Conservator under HERA when it executed the Third Amendment. See Collins 141

S. Ct. at 1775–78; Perry II, 864 F.3d at 606–08.

       Here, Plaintiffs’ claim for restitution necessarily requires simultaneous rescission of all

preferred shareholder contracts, resulting in a forced distribution of capital from the Enterprises

even though equity attributable to the same preferred shares was exhausted long ago. See

Ex. MM ¶¶ 94–95 (Mason Report). An order granting such relief would “restrain or affect” the

Conservator in violation of Section 4617(f). Indeed, the Conservator “eliminated” all dividends

to shareholders in 2008 (SMUF ¶ 6), and the PSPAs bar the Conservator from “mak[ing] any

other distribution” with respect to Enterprise equity interests without Treasury’s consent. Id. ¶ 7

(quoting Ex. E § 5.1 (PSPA)). To order the restitution remedy requested by Plaintiffs, the Court

would necessarily force the Conservator to act contrary to the terms of the PSPAs. A forced

unwinding of all preferred stock—and a forced distribution of $47.9 billion of the Enterprises’

capital, contrary to the Conservator’s decision not to distribute capital—is precisely the type of

judicial interference Section 4617(f) is designed to avoid.

       B.      Plaintiffs’ Alternative Request for Restitution Is Barred For the Additional
               Reason That It Would Result in a Windfall for the Preferred Shareholders

       Restitution is barred for an additional, independent reason: awarding rescission and

restitution would force the Enterprises to pay each current preferred shareholder the full purchase

price of the shares (less dividends paid on those shares), even though the value of those shares

had already dropped significantly before the Third Amendment was executed. In these


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circumstances, awarding rescission and restitution would give the preferred shareholders a

massive windfall that would put them in a far better position than if the Third Amendment had

never been executed. The preferred shares were all issued prior to the financial crisis, and thus

inherent in the risks associated with the shareholder contract was the risk that comes with equity

ownership. Yet, Plaintiffs’ alternative request for restitution would compensate them for all

losses suffered as a result of the financial crisis and the imposition of the conservatorships

themselves—none of which are being challenged by Plaintiffs as a breach of the shareholder

contract. The law does not allow such an inequitable remedy.

          A party seeking rescission and restitution “must show that the unwinding of performance

(as opposed to a remedy by money judgment) is both feasible and equitable on the facts of the

case.” Restatement (Third) of Restitution and Unjust Enrichment § 54 cmt. a (2011) (emphasis

added). As such, “the court must determine whether rescission in place of enforcement [of the

contract] serves the interests of justice,” and is “equitable under the circumstances.” Id. § 54

cmts. b, e. Indeed, “a central concern of the overall inquiry . . . is the risk of undue prejudice to

the defendant,” and rescission and restitution “will be denied if its effect would be the unjust

enrichment of the [plaintiff] at the expense of the [defendant].” Id. § 54 cmts. f, g (emphasis

added).

          Accordingly, restitution is not available if it would place the non-breaching party in a

better position than it would have occupied absent the breach, as that would constitute an “unfair

windfall.” See Hansen Bancorp, Inc. v. United States, 367 F.3d 1297, 1315 (Fed. Cir. 2004)

(explaining that restitution is inappropriate where “the non-breaching party [would] be placed in

a better position through the award of damages than if there had been no breach” (internal

quotation marks and citation omitted)); E. Allan Farnsworth & Zachary Wolfe, Farnsworth on



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Contracts § 12.08 (4th ed. 2018) (“[I]t is a fundamental tenet of the law of contract remedies that

an injured party should not be put in a better position than had the contract been performed.”);

Projects Mgmt. Co. v. Dyncorp Int’l, LLC, No. 1:13–cv–331, 2014 WL 1248075, at *8 (E.D. Va.

Mar. 26, 2014) (rejecting plaintiff’s measure of damages that “would give [plaintiff] an

unwarranted windfall impermissible under federal or Virginia law” and granting summary

judgment in favor of Defendants); Preferred Inv. Servs., Inc. v. T & H Bail Bonds, Inc., No. CV

5886VCP, 2013 WL 3934992, at *21 (Del. Ch. July 24, 2013) (“A non-breaching party . . . is not

entitled to a windfall.”) (citing Paul v. Deloitte & Touche, LLP, 974 A.2d 140, 146 (Del. 2009)).

Moreover, where the property to be returned by the plaintiff to the defendant to fully unwind the

transaction has “suffered deterioration in value,” there is an acute risk of “windfalls . . . resulting

from interim variation in the values being restored.” Restatement (Third) of Restitution and

Unjust Enrichment § 54 cmts. b, g.

       Here, awarding restitution to the preferred shareholders would be manifestly inequitable

and prejudicial to Defendants because it would provide a massive windfall to Plaintiffs,

compensating them for losses that occurred before execution of the Third Amendment. The

preferred shares were issued as early as 1997 and some as late as 2008.17 By the time the Third

Amendment was executed in August 2012, the market price of the Enterprises’ preferred shares

(that is, the price at which shareholders could sell their shares) had decreased substantially—on

average, over 93%—from the prices at which they were issued (that is, the price at which the




17
        The preferred shares have been bought and sold on the secondary market since their
issuance. Indeed, some Plaintiffs purchased preferred stock after the Third Amendment was
executed in August 2012. See Fairholme Funds, Inc. v. United States, 147 Fed. Cl. 1, 21 and n.9
(2019) (observing that some Berkley Companies that are also plaintiffs in this action “acquired
preferred stock in both Enterprises before and after August 2012” and noting it was unclear
which companies “owned stock in the Enterprises before August 2012”).
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original shareholders bought their shares). SMUF ¶ 23. Indeed, according to Plaintiffs’

calculations, the shareholders’ purported restitution award ($47.9 billion total, inclusive of

prejudgment interest) as of June 2022 is nearly double their claimed expectation, or benefit of the

bargain, damages award of $27.2 billion as of June 2022, which Plaintiffs base on a but-for

world in which there was no Third Amendment and thus no alleged breach. Compare Ex. MM

¶ 95, Table 3 (Mason Report, Restitution Damages Summary) to Ex. MM at ¶ 86, Table 1

(Mason Report, Method 1 Damages Summary).

       Plaintiffs do not contend that Defendants are responsible for (or should be held liable for)

this pre-Third Amendment reduction in share or contract value, which was attributable to a host

of factors, from the Great Recession and its impact on the Enterprises to the imposition of the

conservatorships. This would plainly constitute a windfall to Plaintiffs because it would “not

return the [shareholders] to [their] pre-breach position, but to a better position.” Old Stone Corp.

v. United States, 63 Fed. Cl. 65, 78 (2004). It would also violate a “fundamental tenet of the law

of contract remedies” by putting the junior preferred shareholders “in a better position than had

the contract been performed.” Farnsworth on Contracts § 12.08; see also Admiral Fin. Corp. v.

United States, 378 F.3d 1336, 1345 (Fed. Cir. 2004) (rejecting investor’s request for rescission

and restitution because it would result in a windfall where the value of the investment had

deteriorated before the alleged breach). Accordingly, Plaintiffs’ alternative request for

restitution is unavailable as a matter of law, and the Court should grant summary judgment in

Defendants’ favor on this issue.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request the Court grant Defendants’

motion and enter summary judgment in favor of Defendants.



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Dated: March 21, 2022                  Respectfully submitted,

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